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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                        :      Criminal No. 2:19-cr-00197
      Plaintiff,                                 :
                                                 :      Section "D"
 vs.                                             :      Judge Wendy B. Vitter
                                                 :
 KHALID AHMED SATARY,                            :      Magistrate (4)
     Defendant.                                  :      Magistrate Judge Roby
______________________________________________________________________________

    SATARY’S RESPONSE OPPOSING MOTION FOR EARLY DISCLOSURE OF
        ADVICE OF COUNSEL DEFENSE AND ASSOCIATED DISCOVERY
______________________________________________________________________________

        Pursuant to E.D. La. R. 7.5, Defendant Khalid A. Satary opposes the Government’s

“motion to compel timely disclosure of, and discovery regarding, any advice of counsel defense.”

[Doc. 307].    To support his position that the Government’s motion is both untimely and

unsupported by any controlling authority, Satary shows the following:

                     ARGUMENT AND CITATIONS TO AUTHORITY

I.      The Government’s untimely and unsupported motion improperly seeks to augment
        Satary’s discovery obligations far beyond the scope of Fed. R. Crim. P. 16.

        As the Government concedes, “[t]he Federal Rules of Criminal Procedure do not

specifically require that a defendant provide pretrial notice of an advice-of-counsel defense.”

[Doc. 307-1 at 6]; accord United States v. Dallmann, 433 F. Supp. 3d 804, 811 (E.D. Va. 2020).

The Government’s motion – which primarily sets out general principles on a trial defense that

Satary has not yet raised – fails to cite any binding precedent from the Fifth Circuit for its novel

request. See generally [Doc. 307]; see also United States v. Espy, 1996 WL 560354 (E.D. La.

Oct. 2, 1996) (“there is no case law to support [the Government’s] proposition that a defendant

must notify the Government if he intends to rely on the advice of counsel defense.”). Given the

absence of controlling authority for a remedy that is uncontrovertibly beyond the scope of Rule


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16, “the Government’s motion is best construed as a request entirely within the Court’s discretion.”

United States v. Alessa, 561 F. Supp. 3d 1042, 1049 (D. Nev. 2021).1 That discretion is not

appropriately exercised here.

       At the outset, the Government’s motion is untimely. [Doc. 252 at 2] (setting January 10,

2022, pretrial motion deadline). Based on the Government’s discovery (showing that the FBI

executed warrants on the office of the general counsel for the labs), the Government has long

known that advice of counsel was a potential, available defense. The Government has waited two

years to file a motion on an issue it has undoubtedly anticipated since the indictment, and even

before. Accordingly, the Government cannot now show “good cause” to excuse the untimely filing

and this Court is consequently barred from consideration of the merits of this late motion. See

United States v. Lopez, 2021 WL 2267455, at *3-4 (N.D. Tex. 2021) (citing United States v.

Williams, 774 F. App’x 871 (5th Cir. 2019)).

       While the Government may argue that its motion is “in limine,” the motion to compel does

not constitute a “motion in limine” under this Court’s amended scheduling order because the

motion does not “address[] objections to exhibits[.]” [Doc. 292 at 2]; cf., Vaughn v. Hobby Lobby

Stores, Inc., 539 F. Supp. 3d 577, 582 (W.D. La. 2021) (“A motion in limine is a motion made

prior to trial for the purpose of prohibiting opposing counsel from mentioning the existence of,

alluding to, or offering evidence on matters so highly prejudicial to the moving party that a timely




1
   In Alessa, a district court in Nevada denied a motion identical to the Government’s here.
Rejecting the same cases presented by the Government’s motion, that district court explained:
“[o]ther than a seemingly arbitrary, unspecified sentiment about when a proper defense must be
formulated, the Court does not know why a criminal defendant must decide what defense (if any)
to pursue in advance of trial or risk losing the option altogether.” Id. (quoting United States v.
Wilkerson, 388 F. Supp. 3d 969, 975 (E.D. Tenn. 2019)). Wilkerson and Alessa are recent cases,
conveniently omitted by the Government, that undermine the reasoning of the older cases cited in
its motion.

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motion to strike or an instruction by the court to the jury to disregard the offending matter cannot

overcome its prejudicial influence on the jurors’ minds.”).

       On the merits, Federal Rule of Criminal Procedure 16 provides that statements to the

defendant or the defendant’s attorney by “a prospective Government or defense witness[]” are

“[n]ot subject to disclosure.” Fed. R. Crim. P. 16 (b) (2) (B) (iii). The Government’s citation to

Rule 16’s subsection (a) is irrelevant because the material the Government seeks to compel is not

photographs, books, or tangible objects. Fed. R. Crim. P. 16 (a) (1) (E). To be sure, the

Government’s argument is premised solely upon convenience—Rule 16 has never compelled a

criminal defendant to waive the attorney-client privilege in anticipation of trial and explicitly

signal whether they will employ a specific trial defense.

       The Government’s brief omits recent opinions that have denied the same relief and

illuminated significant flaws in the Government’s position. See e.g., United States v. Wilkerson,

388 F. Supp. 3d 969 (E.D. Tenn. 2019). In Wilkerson, a district court in the Eastern District of

Tennessee denied a Government motion for the same relief. Id. at 972. Wilkerson similarly

involved allegations of health care fraud and kickbacks, though in the context of topical cream

prescriptions that were billed to TRICARE. Id. at 971. The Wilkerson analysis noted that Rule

16’s text did not support the request and gave multiple reasons for its decision, including the

potential for unconstitutional infirmities. Each of these reasons apply here with equal force.

       1.      The Government chose to initiate a criminal prosecution, rather than a civil action.

       The Government has a choice to pursue fraud via either a civil or criminal action. In

Wilkerson, the Court noted that the Government’s election for criminal prosecution of fraud

carried with it the consequence of less favorable discovery parameters. Unlike a civil action,

Satary was not required to plead an “answer” with affirmative defenses to the indictment and,




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contrary to the Government’s argument, advice of counsel is not an affirmative defense. 2 Id. at

973 (“Rather, an advice of counsel defense merely negates an element of criminal fraud—i.e.,

“unlawful intent.”); see also United States v. Scully, 877 F.3d 464 (2d Cir. 2017); see also United

States v. Greenspan, 923 F.3d 138, 147 (3d Cir. 2018).

        Advice-of-counsel (or reliance on advice of counsel) is not enumerated within the

affirmative defenses that require advance notice under the Federal Rules of Criminal Procedure.

Fed. R. Crim. P. 12.1, 12.2, 12.3.        Likewise, the scope of discovery in a civil action is

distinguishable—civil discovery is broader. Cf., Fed. R. Civ. P. 26 (b) (1). As Wilkerson noted,

criminal prosecution “implicates a whole host of constitutional concerns that are nonexistent in the

civil context.” Id. at 973. Those constitutional concerns prohibit compelling a criminal defendant

to disclose anything without the imposition of reciprocal discovery rights. Wardius v. Oregon,

412 U.S. 470, 476 (93 S.Ct. 2208) (1973). And here, the Government’s demand – that Satary

designate his defense prior to trial – is not reciprocal.

        2.      Any expansion of Satary’s discovery obligations should have been done prior to his
                requesting and the Government providing its discovery information.

        As in Wilkerson, the Government here “has already made its disclosures under Rule 16”

upon Satary’s request. Id. at 974; see generally [Doc. 45]. “Assuming a court has the power to

expand a defendant’s obligations under Role 16, it should be ordered before – not after – the




2
   The Wilkerson opinion agreed with the Second Circuit’s understanding of the defense (negate
criminal intent). In Scully, the Second Circuit explained: “[T]he claimed advice of counsel is
evidence that, if believed, can raise a reasonable doubt in the minds of jurors about whether the
Government has proved the required element of the offense . . . .” 877 F.3d at 476. The burden
of proof thus does not shift or diminish when a defendant raises the defense, and courts have
stricken jury instructions that indicate the defendant must “avail himself” of the advice of counsel
defense, Greenspan, 923 F.3d at 147, or “satisfy” certain elements to “establish” the defense.
Scully, 877 F.3d at 477.


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defendant has voluntarily subjected himself to disclosure under that rule. [Simply stated, a], Court

should not alter the terms of the deal once the defendant enters into it.” 388 F. Supp. 3d at 974.

       Reciprocal discovery does not “require [Satary] to divulge the details of his own case while

at the same time subjecting him to the hazard of surprise concerning refutation of the very pieces

of evidence which he disclosed to the [Government].” United States v. Booker, No. 1:22-cr-255-

TWT, 2012 WL 1458009, at *2 (N.D. Ga. Mar. 12, 2012) (quoting Wardius, 412 U.S. at 472).

Here, discovery has been ongoing for over two years, [Doc. 45], and the Government’s request is

not reciprocal. “[I]t is not the Court’s role to assist the Government in conjuring up some reciprocal

arrangement to make an otherwise unconstitutional demand constitutional[.]” Wilkerson, 388 F.

Supp. 3d at 974.

       Contrary to the Government’s argument, there is no consensus on this issue—other district

courts before Wilkerson raised problems with compelling a defendant to produce discovery

beyond the bounds of Rule 16. See United States v. Meredith, No. 3:12-cr-143-S, 2014 WL

897373, at *1 (W.D. Ky. Mar. 5, 2014) (denying Government request to require defendant to

disclose an advice of counsel defense and finding that Government provided no authority to

compel pretrial disclosure beyond the bounds of Rule 16); see also Espy, 1996 WL 560354, at *1

(same, noting that Fifth Circuit precedent made “no mention” that a defendant must notify the

Government of his intention to assert the advice of counsel defense).

       The Government asks the Court to compel early discovery even if Satary’s trial defense

will ultimately not be advice of counsel, but instead “good faith.” But the three district court cases

it cites do not support the Government’s position.3 First and foremost, neither Dallmann, United



3
   The Government’s citation to United States v. Bilzerian, 926 F.2d 1285 (2d Cir. 1991) is
inapposite because that case dealt with the district court’s decision to find waiver of the attorney-
client privilege based on the defendant’s trial testimony. Bilzerian did not consider the

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States v. Crowder, 325 F. Supp. 3d 131 (D.D.C. 2018), nor United States v. Crinel, No. 15-61,

2016 WL 6441249 (E.D. La. Nov. 1, 2016) considered “a good faith defense” at all. Cf., [Doc.

307-1 at 6-7]. Rather, these cases were limited to the reliance on advice of counsel defense.

Standing alone, the absence of any authority for early disclosure in connection with a good faith

defense (half of the Government’s request) severely narrows the disputed issue for this Court to

decide.

          Considering the Government’s citations with an eye to the advice-of-counsel defense, these

cases do not engage, much less overcome, the problems raised by the Wilkerson court.4 While the

Dallmann and Crowder courts ordered the defendant to provide early election of the advice-of-

counsel defense and reciprocal discovery, those Courts did not force the defendant to do so months

prior to trial—the deadline was ten days.5 Notably, none of the opinions cited by the Government

consider the text of Fed. R. Crim. P. 16 (b) (2) (B) (iii), nor did they engage the constitutional

reciprocity issues identified by the Wilkerson Court.

          Therefore, assuming it reaches the merits, this Court, like the district court in Alessa,

should follow the persuasive Wilkerson analysis over Dallmann and Crowder and deny the

Government’s motion. See Alessa, 561 F. Supp. 3d at 1049 (“Other than a seemingly arbitrary,

unspecified sentiment about when a proper defense must be formulated, the Court does not know


Government’s argument that a criminal defendant can be compelled to elect and disclose his trial
defense weeks prior to trial, with an accelerated reciprocal discovery deadline.
4
   Crinel acknowledged other civil cases within the Fifth Circuit holding that “it would be unfair
to preclude the Defendant from offering at trial evidence of its advice-of-counsel defense simply
because the Plaintiff did not obtain information about that defense during discovery.” Texas
Advanced Optoelectronic Sols., Inc. v. Intersil Corp., 2015 WL 11181563, at *1 (E.D. Tex. Feb.
9, 2015). The Crinel order also noted that advice-of-counsel is not one of the defenses, objections,
or requests that must be raised before trial under Fed. R. Crim. P. 12 (b) (3). 2016 WL 6441249,
at *11.
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    At the time of this filing, the specially set trial date is January 17, 2023. [Doc. 314].

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why a criminal defendant must decide what defense (if any) to pursue in advance of trial or risk

losing the option altogether.”). This convenience-based motion must be denied.

                                       CONCLUSION

       For the foregoing reasons, Satary respectfully requests this Court to DENY the

Government’s untimely motion.

       This 29th day of June, 2022.

                                                   Respectfully submitted,

                                                   /s/ Scott R. Grubman
                                                   Scott R. Grubman (Ga. Bar #317011)
                                                   (admitted pro hac vice)
                                                   CHILVIS GRUBMAN
                                                   1834 Independence Square
                                                   Atlanta GA 30338
                                                   Telephone: (404) 233-4171
                                                   sgrubman@cglawfirm.com
                                                   Trial Attorney for Defendant
                                                   Khalid Ahmed Satary


                                                   /s/ Samuel H. Winston
                                                   Samuel H. Winston (La. Bar #34821)
                                                   Evan J. Bergeron (La. Bar #33725)
                                                   Jeigh L. Britton (La. Bar #39820)
                                                   WINSTON BERGERON, LLP
                                                   1700 Josephine Street
                                                   New Orleans, Louisiana 70113
                                                   Telephone: (504) 577-2500
                                                   Facsmile: (504) 577-2562
                                                   sam@winstonbergeron.com
                                                   evan@winstonbergeron.com
                                                   jeigh@winstonbergeron.com
                                                   Local Counsel for Defendant
                                                   Khalid Ahmed Satary




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of June, 2022, a copy of the foregoing RESPONSE

was served by electronic means through the Court's CM/ECF system on all counsel of record.



                                                  /s/ Scott R. Grubman
                                                  Scott R. Grubman


                                                  /s/ Samuel H. Winston
                                                  Samuel H. Winston




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